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Dated: October 25, 2018
The following is SO ORDERED:


                                                 ________________________________________
                                                              Paulette J. Delk
                                                    UNITED STATES BANKRUPTCY JUDGE


____________________________________________________________



                    UNITED STATES BANKRUPTCY COURT
                     WESTERN DISTRICT OF TENNESSEE
                             WESTERN DIVISION
  ________________________________________________________________________
  IN RE:
         ARNOLD R. DORMER, JR.,                   Case No. 11-27934-PJD

              Debtor.                             Chapter 11
  ________________________________________________________________________

            ORDER GRANTING MOTION FOR ENTRY OF DISCHARGE
  ________________________________________________________________________

         Upon the Motion for Entry of Discharge filed on behalf of the reorganized debtor

  (the “Motion”), it appearing that no objection was filed, and based on the record as a

  whole, it appears that the Motion is well taken and should be granted.

         IT IS, THEREFORE, ORDERED that the Debtor's Motion for Entry of Discharge

  be and is Granted, and, therefore, the Debtor is hereby granted a Discharge as set

  out in 11 U.S.C. Section 1141(d)(1)(A).
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 Approved by:

 /s/ Russell W. Savory
 ______________________________
 Russell W. Savory (12786)
 Attorney for Debtor
 119 South Main Street, Suite 500
 Memphis, TN 38103
 901-523-1110


 Parties to be served:

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